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December 20, 2021
From Ksenia Mednikova
127204, Moscow
9-aya Severnaya liniya 25/1 app.83


To Whom it may Concern:
       My name is Ksenia Mednikova and I have been an employee of Vladislav
Klyushin since 2013. He is a wonderful person, great father and husband, and a
good leader.
       During the work, he was always attentive and open to his employees.
Vladislav Klyushin found time to listen to employees on any questions. He helped
to resolve not only work issues, but also helped in personal matters. Vladislav
always tried to establish a family atmosphere in the company and with the aid of
his leadership and help to employees in difficult times, he did it. He personally
congratulated the employees on their birthday, supported them in difficult times.
He paid for treatment for two employees, helped my colleagues when they lost
their relatives, and was involved in charity work.
       Vladislav always devoted time to me in working matters, mentored and
suppo11ed me in general. I know that he is a good and decent person and a very
caring leader.


Sincerely,
Ksenia Mednikova
